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                                 16   MOR FURNITURE FOR LESS, INC.
                                 17                       UNITED STATES DISTRICT COURT
                                 18
                                                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 19
                                 20   PORTIA MASON, individually and         Case No.: 2:21-cv-07788-DMG-ADS
                                      on behalf of all others similarly
                                 21   situated,                              CLASS ACTION
                                 22
                                                           Plaintiff,        Hon. Judge Dolly M. Gee
                                 23         v.
                                 24                                          JOINT STIPULATION TO DISMISS
                                      MOR FURNITURE FOR LESS,                CASE WITH PREJUDICE
                                 25   INC., a California corporation; and
                                 26   DOES 1 to 10, inclusive,
                                 27                                          Complaint Filed: September 30, 2021
                                                           Defendants.       Trial Date:      None Set
                                 28

                                                     JOINT STIPULATION TO DISMISS CASE WITH PREJUDICE
                                  Case 2:21-cv-07788-DMG-ADS Document 23 Filed 02/15/22 Page 2 of 2 Page ID #:93



                                  1         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
                                  2   Plaintiff Portia Mason and Defendant Mor Furniture for Less, Inc. stipulate and
                                  3   jointly request that this Court enter a dismissal with prejudice as to Plaintiff’s
                                  4   individual claims in their entirety and without prejudice as to the claims of absent
                                  5   putative class members in the above-entitled action. Each party shall bear her or its
                                  6   own fees and costs.
                                  7
                                  8   Dated: February 15, 2022                WILSHIRE LAW FIRM, PLC
                                  9
                                                                              /s/ Thiago M. Coelho
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                                 13
                                      Dated: February 15, 2022                SOLOMON WARD SEIDENWURM &
                                 14                                           SMITH, LLP
                                 15
                                                                              /s/ Harsh Y. Ronvelia
                                 16                                           Daniel E. Gardenswartz, Esq.
                                 17                                           Mei-Ying M. Imanaka, Esq.
                                                                              Harsh Y. Ronvelia, Esq.
                                 18                                           Attorneys for Defendant
                                 19
                                 20
                                                               SIGNATURE ATTESTATION
                                 21
                                            I hereby attest that all signatories listed above, on whose behalf this joint
                                 22
                                      motion is submitted, concur in the filing’s content and have authorized the filing.
                                 23
                                      Dated: February 15, 2022         WILSHIRE LAW FIRM, PLC
                                 24
                                 25                                           /s/ Thiago M. Coelho
                                                                              Thiago M. Coelho
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                                                                              Attorneys for Plaintiff and
                                 27                                           Proposed Class
                                 28
                                                                             2
                                                     JOINT STIPULATION TO DISMISS CASE WITH PREJUDICE
